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                EXHIBIT 1
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                           THOMAS REILLY

                                                                Page 1
           IN THE UNITED STATES DISTRICT COURT
       FOR THE EASTERN DISTRICT OF PENNSYLVANIA
                             -   -   -
    THOMAS REILLY                :   CASE NO.
                                 :   2:17-CV-02045-JCJ
               vs.               :
                                 :
    GLAXOSMITHKLINE, LLC :
                             -   -   -
                TUESDAY, DECEMBER 11, 2018
                             -   -   -
                      VIDEOTAPE DEPOSITION OF THOMAS
    REILLY, taken pursuant to notice, was held
    at the law offices of Reed Smith LLP, Three
    Logan Square, 1717 Arch Street, Suite 3100,
    Philadelphia, PA 19103, commencing at 9:36
    a.m., before Kimberly S. Gordon, a
    Registered Professional Reporter, Certified
    Court Reporter and Notary Public.




                        - - -
            ELITE LITIGATION SOLUTIONS, LLC
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           Philadelphia, Pennsylvania 19103
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2
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15              ALSO PRESENT:
                DANIEL BURKE, VIDEOGRAPHER
16              ELIZABETH FEENEY, ESQUIRE
17
18                            -   -   -
19
20
21
22
23
24


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2                           I N D E X

3                             -   -   -

4

5    Testimony of:       THOMAS REILLY

6

7

8    By Ms. Graumlich.........................7

9    By Mr. Pollins.........................268

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11

12                            -   -   -

13                       E X H I B I T S

14                            -   -   -

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16   Reilly-1        Plaintiff0046140-46141              55

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5    Direction to Witness Not to Answer

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7    None

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10   Request for Production of Documents

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16   Stipulations

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18   None

19

20

21   Confidential Portion

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1                      THE VIDEOGRAPHER:        We are now

2             on the record.       My name is Daniel

3             Burke.     I'm a videographer retained

4             by Elite Litigation Solutions.

5                      This is a video deposition for

6             the United States District Court,

7             Eastern District of Pennsylvania.

8             Today's date is December 11, 2018,

9             and the video time is 9:36.

10                     This deposition is being held

11            at 1717 Arch Street, 31st Floor,

12            Philadelphia, Pennsylvania, in the

13            matter of Reilly versus

14            GlaxoSmithKline, LLC.         The deponent

15            is Thomas Reilly.

16                     All counsel will be noted on

17            the stenographic record.          The court

18            reporter is Kimberly Gordon and will

19            now swear-in the witness.

20                            -   -   -

21                     THOMAS REILLY, after having

22            been duly sworn, was examined and

23            testified as follows:

24                            -   -   -


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                            THOMAS REILLY

                                                                Page 38
1       Q.      Why did you leave Safeguard?

2       A.      The company just wasn't strong and it

3    was going through some leadership challenges,

4    and it just -- I just found a better

5    opportunity.

6       Q.      Did you leave voluntarily?

7       A.      Yes.

8       Q.      What was the better opportunity you

9    found?

10      A.      That was at GlaxoSmithKline.

11      Q.      When did you join GSK?

12      A.      I believe it was May of 1999, April

13   or May.     I believe it was May of 1999.

14      Q.      And what was your job title when you

15   started working at GSK?

16      A.      It might have been like an AS/400

17   Analyst or something along those lines.              To

18   be perfectly honest, I do not remember.              I

19   could find out, but I don't remember the

20   exact title.

21      Q.      Did your -- strike that.

22              Does GSK have salary bands for

23   management employees?

24      A.      They have salary bands for all


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                                                                Page 40
1       Q.      So, from the time you were promoted

2    to senior consultant until you left, your pay

3    band never changed.        Is that correct?

4       A.      The band never changed, right.

5       Q.      And I assume there is levels of

6    salaries within a pay band.           Is that right?

7       A.      Yes.   Yes.

8       Q.      Now, you mentioned earlier that Jaime

9    Burke hired you.       Is that right?

10      A.      Yes.

11      Q.      Was that the first person you

12   reported to at GSK?

13      A.      Yes.

14      Q.      How long did you report to Jaime

15   Burke?

16      A.      He moved into a new position in 2001.

17   So it was from 1999 to 2001.

18      Q.      And after you reported to Jaime

19   Burke, who did you report to next?

20      A.      Brian Gillies, G-I-L-L-I-E-S.

21      Q.      How long did you report to Brian

22   Gillies?

23      A.      From 2001 until 2012 -- 2001 through

24   2011.    He left, he moved out right in the


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                           THOMAS REILLY

                                                               Page 41
1    beginning of 2012.

2      Q.      And what position did Brian Gillies

3    go to when he moved out?

4      A.      He moved from the AS/400 Service

5    Manager to be the leader of Document

6    Management.

7      Q.      Do you know if his management level

8    or pay band changed when he went to Document

9    Management?      In other words, was that a

10   lateral position or a promotion?

11     A.      From a pay scale standpoint, I have

12   no insight.      I would imagine that he stayed

13   at the same sal-, and this is just

14   speculation, I don't believe that he changed

15   bands.    But as far as the job itself, it was

16   a serious demotion.

17     Q.      It was a demotion?

18     A.      Yes.

19     Q.      Why do you think it was a demotion?

20     A.      Because there were a lot of problems

21   with the service.

22     Q.      But what do you mean by "service"?

23     A.      The AS/400 service.

24     Q.      What were those problems?


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                                                                Page 42
1      A.      Serious security exposures, serious

2    performance problems.

3      Q.      What were the security exposures?

4      A.      I don't know where to begin.           People

5    with, users with too much authority.             Systems

6    not being set up securely.

7      Q.      Anything else?

8      A.      Systems not configured correctly.

9    People making unauthorized changes to system

10   security.

11     Q.      Anything else?

12     A.      Servers being built without following

13   IT controls and change management and best

14   practices.     Systems being compromised.

15     Q.      Compromised how?

16     A.      You have a consultant overseas that

17   has too much authority, and somebody in

18   Access Management would take their authority

19   away.    So he'd call his buddy who also had

20   too much authority, and they'd just give it

21   back to him.      There was just -- the IT

22   controls had just broken down.

23             There's much more than that.           But as

24   much as I can recall off the top of my head


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                                                               Page 45
1    to do the technical work and be the technical

2    lead.

3      Q.      Did you say Bally's or GSK?

4      A.      I'm sorry.     GSK.    I'm sorry.

5              They had a lot of work that needed to

6    be done.     And Brian has never signed onto an

7    AS/400.    He's just a manager who got the job

8    during the SmithKline Beecham/Glaxo welcome

9    merger.    He got this job but was not really

10   qualified.

11             So the understanding was that Brian

12   would be the manager of the team but I was

13   the technical lead.        He depended on me to

14   make him successful, and I depended on him to

15   make me successful.

16     Q.      Who did Brian Gillies report to?

17     A.      In 2003?

18     Q.      Yes.

19     A.      It was either Steve Miller or John

20   Borror.    You know, I just want to go on

21   record as saying that I can't say for sure.

22     Q.      What position was John Borror in that

23   he was able to promote you?

24     A.      He eventually became a VP.          He might


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1    have been a director at the time.            I believe

2    he was at least a director.          I've never known

3    John to be anything less than a director.

4              But he could have been a VP at the

5    time.    It's just been too long and I just

6    can't remember.

7      Q.      Now, you said the understanding was

8    that one day you would be the manager.             How

9    did you gain that understanding?

10     A.      Because I discussed it with John and

11   I discussed it with Brian Gillies.            I had a

12   review with Brian Gillies every year, and I

13   always overachieved.        And we often talked

14   about the day that he retired.           Because he

15   wanted to retire some day, and he -- we had

16   many informal conversations where it was just

17   assumed that one day I would be put into that

18   position.

19     Q.      How far away was Brian Gillies from

20   retirement when you stopped reporting to him?

21     A.      I don't know.

22     Q.      Do you know how much -- strike that.

23             Do you know if he was older than you?

24     A.      I believe so.      I don't know how old


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                                                                Page 47
1    he was, but I believe he was older than me.

2    I'm confident that he was, but I couldn't say

3    for sure.

4      Q.      How many conversations did you have

5    with John Borror about your eventually taking

6    over for Brian Gillies as the manager?

7      A.      I think it was just that one

8    conversation when he called me into his

9    office when I had let them know that I was

10   going to be leaving the company.

11     Q.      What was the lucrative opportunity

12   that you passed on to stay at GSK?

13     A.      I do not remember at this point.            It

14   was a management position, but I could not

15   tell you.

16     Q.      Who did you report to after you

17   stopped promoting to -- strike that.

18             Who did you report to after you

19   stopped reporting to Brian Gillies?

20     A.      Jo Taylor.

21     Q.      How long did you report to Jo Taylor?

22     A.      From the beginning -- from early 2012

23   through 2015.

24     Q.      And were there any times during that


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                                                                 Page 63
1    them were just like the state of certain

2    things.

3      Q.      Now, what do you mean when you refer

4    to Sarb-Ox compliant?

5      A.      In what context?

6      Q.      In the context you just used it.            You

7    said you need security reports --

8      A.      Yes, we had --

9      Q.      -- to be Sarb-Ox compliant.

10     A.      No.    The system had to be Sarb-Ox

11   compliant.      One of the controls was to have

12   security reports.       There were a lot of

13   internal controls.       And in order to be --

14     Q.      But --

15     A.      -- Sarb-Ox compliant, we had Sarb-Ox

16   audits every once in a while, and we had to

17   have security reports so the Access

18   Management people could see what was

19   happening so that if we had an internal or an

20   external audit they'd be ready.

21     Q.      By "Sarb-Ox", I assume you're

22   referring to Sarbanes-Oxley?

23     A.      Yes.

24     Q.      Have you ever had any training in the


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1    -- strike that.

2              What training if any have you had on

3    Sarbanes-Oxley while you worked at GSK?

4      A.      I don't know the exact name of the

5    training, but I have transcripts of the

6    training.

7      Q.      What do you mean by you have

8    transcripts of the training?

9      A.      Well, I mean we each had a, everybody

10   had, you could log onto the online learning

11   system and see your transcript of all the

12   trainings you've ever had, and a good portion

13   of them were Sarbanes-Oxley training.

14     Q.      Tell me what you remember about the

15   Sarbanes-Oxley training that you took at GSK.

16     A.      I don't remember the actual details,

17   but it stressed the importance to the company

18   of being Sarbanes-Oxley compliant.

19     Q.      What does that mean?        What was your

20   understanding of what that meant?

21     A.      Sarbanes-Oxley means that you have

22   internal controls in place and those internal

23   controls are effective and that they're being

24   enforced.     You have to follow your own


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                                                                Page 75
1             with that if it was determined that

2             something wasn't --

3    BY MS. GRAUMLICH:

4      Q.      By "we", you mean the team that all

5    reported to Brian Gillies?

6      A.      Could be our group, yes.

7      Q.      Now, you testified earlier that you

8    got along with Brian Gillies until 2010.

9    What happened in 2010?

10     A.      Actually, I want to modify that.            It

11   was 2011.

12     Q.      So, from 2001 to 2011, you got along

13   with Brian and then something happens?

14     A.      Yes.

15     Q.      What happens?

16     A.      Rick Oberholzer made a change on the

17   North America Pharmaceutical and Financial

18   server against my strong recommendation.

19     Q.      And what change did Rick Oberholzer

20   made?

21     A.      He enabled something called uncapped

22   processors.

23     Q.      What is an uncapped processor?

24     A.      A server is generally configured and


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1    designed to run at 100 percent CPU

2    utilization.      All of the other components,

3    the memory and the disc arms and everything

4    are designed to run at 100 percent.            Just

5    like a car, let's say the fastest car can go

6    is 100 percent.       He changed that so that the

7    system could run at a couple hundred percent

8    CPU.    I warned him not to do it.         I told him

9    not to do it.      And he made that change, and

10   it brought the system to its knees.

11             I built that server.        It was

12   responsible for between 100 and $150,000,000

13   a day in revenue because it was an order

14   management system and it also ran their

15   financials and it supported 90 percent of

16   North America orders and 60 percent of global

17   orders, and it came to its knees.            And it

18   was, it was a big deal.

19     Q.      Now, what was the server that he made

20   the change on?

21     A.      North America Pharmaceutical.

22     Q.      And --

23     A.      It's called -- if you put

24   Enterprise 1 next to it, that was something


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1    else that's known as the Enterprise 1 server.

2    Enterprise 1 is the financial application

3    that runs on the system.

4      Q.      What applications ran on the North

5    American Pharma server?

6      A.      Enterprise 1.      It hosted --

7    Enterprise 1 could run financials and it

8    could run order management.

9      Q.      Anything else?

10     A.      It was designed to run in conjunction

11   with some servers that did financial

12   reporting.

13     Q.      Did the Enterprise 1 have anything to

14   do with the actual manufacture of

15   pharmaceuticals?

16     A.      I'm not sure I understand your

17   question.

18     Q.      Did the North American Pharma server,

19   was it second to any manufacturing

20   operations?

21     A.      No.    It was a stand-alone financial

22   server that I had built.         They migrated from

23   an expensive mainframe application.            I built

24   that server for them, delivered it, tuned it,


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                                                               Page 78
1    turned it over to them, and it was running

2    perfectly.

3      Q.      Why did Rick Oberholzer make the

4    change to an uncapped processing?

5      A.      Because he could.       I don't have a

6    good answer for that.        He --

7      Q.      Did he ever tell anyone, either to

8    you or that you heard, what he thought the

9    benefits of moving to an uncapped processor

10   were?

11     A.      I guess he thought that if the server

12   ran at 300 percent or 400 percent instead of

13   100 percent, in his head, he thought it would

14   be a good thing, but it's like the equivalent

15   of driving your car on the highway 400 miles

16   an hour.

17     Q.      Is uncapped processing, is that an

18   available feature of the IBM iSeries, AS/400

19   iSeries?

20     A.      The iSeries hardware can run the

21   operating system OS/400, and it can run

22   another operating system called AIX.             As an

23   analogy, let's say your laptop could run

24   Windows or macOS.       It's the same thing.        It


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1    could run two different operating systems.

2              The hardware you could enable

3    uncapped processors and it was supported in

4    AIX, but it was not supported for OS/400,

5    which was the operating system we ran.             So

6    you could turn it on, but it was not supposed

7    to be turned on for OS/400.

8      Q.      It was not supposed to be turned on

9    for what?

10     A.      OS/400, the operating system that we

11   were running.      The hardware could run two

12   different operating systems.

13     Q.      And the other one was AIX?

14     A.      AIX, yes.

15     Q.      And were any servers at GSK running

16   AIX?

17     A.      There's an entirely different

18   platform that they're trying to move all the

19   AS/400s to.      They've been trying to move to

20   it for 15 years.       It's called the ERP system,

21   and I believe that runs AIX.

22             But I'm not, I'm not privy, other

23   than knowing it has serious problems, I'm not

24   privy as to whether they're running that


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                                                               Page 80
1    feature or not.

2      Q.      Doesn't uncapped processing allow the

3    server to use capacity from another server if

4    that capacity is available?          You have to

5    answer for the court reporter, please.

6      A.      Yes, it does.      It allows you to use

7    CPU capacity.

8      Q.      And so why do you say that it was

9    running this server at more than 100 percent

10   if the uncapped would allow CPU to be used

11   for a different server?

12     A.      Because there's also memory and disc

13   arms that have to keep up with it.            The

14   memory and disc arms could keep up with

15   100 percent.      The memory and the disc arms

16   could not keep up with 800 percent.            It would

17   just thrash.      The memory would thrash.          The

18   disc arms would thrash.         Everything would

19   just -- it would just basically lock up and

20   seize up.

21     Q.      If you added memory, would that

22   resolve the problem?

23     A.      That's why it's not supported on

24   OS/400.    Because on other platforms, my


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1    understanding is on other platforms you can

2    also give the system memory, not just CPU.

3    And that was the limitation of OS/400 that it

4    would give you more CPU but it would not give

5    you more memory.

6      Q.      So there's no way to add more memory

7    to the OS/400?

8      A.      You could add more memory, sure.

9      Q.      So, if you added more memory to the

10   OS/400, would that resolve the problem you

11   just described caused by uncapping it?

12     A.      Not necessarily.

13     Q.      But could it?

14     A.      You could try to remediate it.           I

15   believe that's what Oberholzer did.            I think

16   they spent -- after he turned this on,

17   instead of disabling it after the system

18   seized up, he went and lobbied for the

19   purchase of about three or $400,000 worth of,

20   a good part of it was memory I believe to

21   kind of compensate.        He could have just

22   turned it off, but instead, it turned into a

23   new purchase that was unnecessary.

24             Because the system was running okay


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                                                               Page 82
1    before he did it.       All he had to do once the

2    system seized up was to turn it off.             But he

3    chose to instead lobby the company to spend

4    three or $400,000 on additional memory, and

5    that did not fix the problem either.

6      Q.      So -- now, Mr. Oberholzer was a level

7    below you, correct?

8                      THE COURT REPORTER:        Yes?

9                      THE WITNESS:      Yes.

10   BY MS. GRAUMLICH:

11     Q.      So did he have the authority to do

12   this on his own?

13     A.      Gillies didn't stop him.         I told

14   Gillies that it was a bad idea.            I told

15   Oberholzer it was a bad idea.           As the

16   technical lead who had performance tuned all

17   the systems and built the systems, my advice

18   should have been taken, but in the end,

19   Gillies allowed him to do it.

20     Q.      Now, you testified that this change

21   on the Pharma server, the Enterprise 1

22   brought the system to its knees.           What did

23   you mean by that?

24     A.      We have users all around the world


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                                                               Page 83
1    whose workstations just locked up.            The

2    people who supported the application in

3    Philadelphia called us telling us they

4    couldn't do business; they couldn't take

5    orders; data was getting corrupted; there was

6    going to be delays in financial reports.

7      Q.      What data was corrupted?

8      A.      Orders were being lost.         Orders were

9    being corrupted.

10     Q.      Do you know that they were lost or

11   that the server simply wouldn't operate?

12     A.      It was a combination of everything.

13   The orders that were placed either got

14   contaminated or the person who made the order

15   hit "enter", and then when the system came

16   back after it was down, they said it was no

17   longer there.      I guess they had to re- --

18   they had to re-enter the order I guess.

19             But my understanding was that orders

20   were being lost.       And these are orders from

21   like Walmarts where it's not just like a $30

22   order.    It's like they could spend tens of

23   millions of dollars in a day.           It was big

24   numbers, and they couldn't do business.


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                                                               Page 84
1      Q.      How long was the server locked up?

2      A.      It continued to happen for weeks

3    until they got this emergency hardware

4    upgrade.     The first instance I don't know

5    exactly how long it locked up, but I was

6    getting calls from senior people in

7    Philadelphia telling me that they had a

8    serious problem.       And I was trying to work

9    through remediating their problem.            I knew

10   what caused it, and I was trying to work

11   through fixing it.

12             But the exact amount of time that it

13   locked up, I don't know.         But I know that it

14   continued to run in a compromised state for a

15   while until they went and purchased new

16   hardware when they could have just turned it

17   off.    That was the key, they could have just

18   disabled what he had done, but that wasn't

19   going to happen.

20     Q.      And --

21     A.      But I was helpless to do anything

22   about it.

23     Q.      When the company purchased emergency

24   hardware, as you described it, did that fix


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                                                               Page 85
1    the problem?

2      A.      No.

3      Q.      What happened after that?

4      A.      The problem just wasn't as bad, but

5    it never fixed it.

6      Q.      Now, you testified that your

7    relationship was not the same with Brian

8    Gillies after this.        What happened between

9    you and Mr. Gillies?

10     A.      He was on vacation when this got

11   enabled, uncapped processors.           And when the

12   phone started ringing and people started

13   panicking and they told me the level of the

14   issues that they were having, I walked over

15   to Rick Oberholzer's desk, and he started

16   screaming at me.

17             I tried to explain to him that I knew

18   what the problem was and we needed to turn it

19   off, and he just went off on me in an open

20   office area and just started screaming at me.

21   And he had a hist- --

22     Q.      Who else was there?

23     A.      Dan Mong was there.        Robert Mattie

24   was there.      It was an open office.        Everybody


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                                                               Page 88
1      Q.      And were you able to get anybody to

2    work with you?

3      A.      No.

4      Q.      Why not?

5      A.      Oberholzer was not going to work with

6    me because he was apoplectic.           He was hostile

7    and angry, and --

8      Q.      Why was Rick Oberholzer hostile

9    towards you?

10     A.      Rick Oberholzer was hostile towards

11   everybody at the data center for over a

12   decade.    That just was his personality.           He

13   was extremely, extremely hostile.

14     Q.      So how did this affect your

15   relationship with Brian Gillies?

16     A.      I was trying to work the problem

17   because of what was at stake with the North

18   America Financial server.         I mean, besides

19   the financials, the order management was a

20   mess.    When Brian Gillies came back from

21   vacation, he called me into a back office and

22   told me that Robert Mattie had called his

23   boss in the UK the previous week saying that

24   I had started an incident with Rick


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                                                                Page 89
1    Oberholzer.

2              Gillies was afraid of Mattie.           Mattie

3    never told me he called the director.             Mattie

4    should have known I was left in charge.

5    Mattie knew that Oberholzer was hostile and

6    unreasonable but he just secretly called my

7    manager's boss in the UK, and a week went by

8    before I found out.

9      Q.      So how did that affect you?

10     A.      Gillies was not happy that Mattie had

11   called his boss, and he told me my career was

12   effectively over.

13     Q.      And when Brian Gillies was taken out

14   of that manager role, was that the reason why

15   you didn't get the job?

16     A.      Yes.    My career was irreparably

17   damaged after -- after Mattie escalated on

18   me, my career was irreparably damaged, yes.

19     Q.      So you knew at the end of 2011, after

20   Robert Mattie called Brian Gillies' boss in

21   the UK, that your career at GSK was

22   irreparably damaged?

23     A.      That's what he told me.

24     Q.      Do you have any reason not to believe


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                                                               Page 90
1    him?

2      A.      The only reason that I had to not

3    believe it was I believed that I had such a

4    productive career there over so many years

5    that it would take more than one person,

6    especially Gillies, to tell me that my career

7    was over.     I had achieved a lot globally

8    within the company.

9              So, when Gillies said it, I believed

10   that that's what he thought in his head, but

11   -- and he was -- it was very personal for him

12   because his boss had got called while he was

13   on vacation.      I think he was taking it

14   personally.      That was his words.       I didn't

15   necessarily believe that that was the case.

16   Because you don't get judged, especially when

17   it's not your fault.        I mean everybody knew

18   that Oberholzer was hostile.          He cursed

19   people out for over a decade, including

20   Mattie.    And it was a shock even to

21   Oberholzer that Mattie escalated.

22             But to answer your question, no, I

23   thought that the body of my work over a

24   decade and what I had done for the company


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                                                               Page 91
1    was bigger than Brian Gillies' feelings being

2    hurt and telling me that my career was

3    damaged.

4      Q.      When Brian Gillies went to Document

5    Management, were you named as the manager?

6      A.      No.

7      Q.      So you were not promoted at that

8    time, correct?

9      A.      It all happened behind the scenes.

10   There was no advertisement for the job.             We

11   got called into a meeting and were told this

12   announcement that they had swapped roles.

13     Q.      And are management positions, were --

14   strike that.

15             Were management positions at GSK

16   changed without posting the job?

17     A.      In this case, it was.

18     Q.      Was there any requirement that a

19   management position had to be posted to be

20   filled?

21     A.      I don't know.

22     Q.      You don't know?

23     A.      Usually, if somebody left a position,

24   people applied for it.


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                                                               Page 94
1      A.      I had it in my 401(k).         And I would

2    get stock grants each year when I was at GSK,

3    stock grants and stock options.

4      Q.      And when did you sell or dispose of

5    your stock?

6      A.      When I moved my 401(k) into an IRA

7    after I left GSK.       And over the last three

8    years, I've been cashing it in just to make

9    up for lost salary, and now I have none.              I

10   no longer have any GSK stock.

11     Q.      Do you have any experience drafting

12   or reviewing financial statements?

13     A.      No.

14     Q.      Do you have any experience with

15   accounting documents, balance sheets,

16   financials?

17     A.      No.

18     Q.      Do you have any experience with

19   securities filings?

20     A.      No.

21     Q.      What is your lay understanding of

22   what constitutes a violation of

23   Sarbanes-Oxley?

24     A.      Breakdown of internal controls.


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                                                               Page 95
1      Q.      Anything else?

2      A.      When data gets corrupted, when

3    systems are not secured, when information is

4    withheld from auditors purposely, when

5    serious issues are not disclosed to the

6    public.

7      Q.      What do you mean by "serious issues"?

8      A.      GSK's computer fleet is not secure.

9    There's a breakdown of internal controls, and

10   the company never discloses it in their

11   filings.

12     Q.      Have you ever reviewed the

13   Sarbanes-Oxley or SEC filings of other public

14   companies other than GSK?

15     A.      The only other one I've ever looked

16   at is Novartis.

17     Q.      And when did you look at Novartis'

18   public filings?

19     A.      Maybe in the last two years ago,

20   maybe in the last year.

21     Q.      Why?

22     A.      Well, because GSK and Novartis did

23   some transactions where I believe they

24   swapped assets, and I know that GSK brought a


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                                                               Page 97
1    corrupted.      Under what circumstances do you

2    think it's a SOX violation if data is

3    corrupted?

4      A.      If it's financial data --

5      Q.      So --

6      A.      -- and you can't get to it, it could

7    impact the financial report.          The financial

8    transactions are lost.

9      Q.      So is it a Sarbanes-Oxley if data --

10   strike that.

11             Do you believe it is a Sarbanes-Oxley

12   violation if data is, if financial data is

13   corrupted and then corrected?

14     A.      I don't know.      I never thought of

15   that.

16     Q.      So is it your testimony that anytime

17   that something goes wrong with a computer and

18   any kind of data is corrupted that that would

19   be a Sarbanes-Oxley violation?

20     A.      No.

21     Q.      So is it only if financial data is

22   corrupted that you believe it's a

23   Sarbanes-Oxley violation?

24     A.      Well, I think from what I understand


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                                                               Page 98
1    from the 20-F and the disclosures you have to

2    disclose deficiencies in your internal

3    controls not just from financial systems but

4    manufacturing systems.         If your manufacturing

5    systems are unstable, it could impact your

6    profitability.

7               So it's not just financial reporting.

8    I believe that you're supposed to disclose

9    deficiencies just because it could have an

10   affect on your overall operation, my

11   understanding.

12     Q.      The things that you have listed thus

13   far in your deposition as a SOX violation,

14   breakdown of internal controls, when data

15   gets corrupted, and you said something about

16   systems.     I missed that.      Do you remember

17   what that was?

18     A.      No.

19                     MS. GRAUMLICH:      Would you mind

20            looking back real quick?

21   BY MS. GRAUMLICH:

22     Q.      Sometimes are not secure.          Is that

23   one of the things you think is a

24   Sarbanes-Oxley violation when a system is not


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                                                               Page 99
1    secure?

2      A.      When a system is not secure, it's not

3    necessarily a Sarbanes violation if you make

4    a good effort to fix it.         When you withhold

5    the information from people, I believe that

6    that's a Sarbanes-Oxley when you withhold it

7    from your internal auditor, when you withhold

8    it from the business, when you withhold it

9    from Quality Risk Assurance.

10             Yes, I mean things happen.          There's

11   always something in place to fix something

12   that's broken, but if the problem is caused

13   by a deficiency in an IT control, that's a

14   Sarb-Ox issue.      But I'm not sure if I

15   answered your question.

16     Q.      Do internal controls break down?

17     A.      Yes.

18     Q.      Deficiencies and internal controls

19   happen, right?

20     A.      Do internal controls break down?

21   Sure, yes.

22     Q.      And if a company fixes the deficiency

23   and the internal controls, do you believe

24   that's still a Sarbanes-Oxley violation?


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                                                              Page 109
1      Q.      Is there anything that you believe

2    GSK did that constituted securities fraud?

3      A.      I would say not disclosing serious

4    breakdowns in internal controls in their

5    Form 20-F.

6      Q.      And what is your understanding of

7    what a public company is required to report

8    about its internal controls on a 20-F?

9      A.      They're supposed to vouch for the

10   effectiveness of their internal controls.

11     Q.      Now, how do you -- strike that.

12             How did you gain your understanding

13   that a company is supposed to vouch for their

14   internal controls on their Form 20-F?

15     A.      I can't recall why I know that, when

16   I knew that.      It's just something that I

17   know.    I don't --

18     Q.      And do you know that for a fact or

19   that's simply your belief or understanding?

20     A.      That's my understanding.

21     Q.      Is there anything else that you

22   believe GSK did that constituted securities

23   fraud?

24     A.      Well, I think the lengths they went


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                                                              Page 110
1    to retaliate against me and withhold the

2    information and then try to marginalize and

3    damage control, I think the effort that they

4    made to keep it secret.

5      Q.      Why do you believe that efforts to

6    retaliate against you constitute securities

7    fraud?

8                      THE COURT REPORTER:        I'm sorry.

9             I didn't understand one of the words.

10   BY MS. GRAUMLICH:

11     Q.      Why do you believe that efforts to

12   retaliate against you constitute securities

13   fraud?

14     A.      Because they were purposely

15   withholding relevant information.

16     Q.      What relevant information do you

17   believe that GSK purposely withheld?

18     A.      That there was a breakdown in IT

19   internal controls; that their global

20   manufacturing and financial, global financial

21   server fleets were unstable.

22     Q.      When do you believe that there was a

23   breakdown in internal controls at GSK?

24     A.      When do I believe there was a


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                                                              Page 112
1    They had people with too much authority,

2    contractors giving each other authorities.

3    There was just a total breakdown of access

4    management control.

5      Q.      What year was this?

6      A.      I'd say 2011 through when I left.

7      Q.      When -- strike that.

8              You described a financial analyst who

9    had too much authority.         What happened as a

10   result of that?

11     A.      There was a big meeting with a lot of

12   people where it was discussed how important

13   that was.     The financial people and the

14   manufacturing people were two different

15   groups, but they shared the same server.              So,

16   if something bad, if one group caused

17   something bad to happen, it would affect the

18   other.    It caused the factory to go down.

19             They brought me in to find root cause

20   to find out what had happened, and I

21   identified that this user had been configured

22   with too much authority.         And I --

23     Q.      Okay.    And was that fixed?

24     A.      No.


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                                                              Page 113
1      Q.      His authority was not changed?

2      A.      His authority was never changed, no.

3      Q.      What was his name?

4      A.      I don't know.

5      Q.      What year was this?

6      A.      That was 2013.

7      Q.      And you don't know his name?

8      A.      I don't have it memorized.          I could

9    probably find it out.        But I mean, as a

10   result of that, I did an audit of the entire

11   fleet where I found dozens if not hundreds of

12   users across the fleet that had too much

13   authority and I raised that to GSK IT, and

14   they raised a Level 1 audit risk in their

15   risk management system.         And they put me in

16   charge of global remediation of that problem.

17     Q.      And did you fix it?

18     A.      I was not able to fix it.

19     Q.      Why not if you were in charge?

20     A.      Because I had no support from

21   Jo Taylor.     She was retaliating against me,

22   and she gave me no support to do that job.

23     Q.      What support did you need that

24   Jo Taylor didn't give you?


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                                                              Page 122
1      Q.      And where does a Level 1 risk fall on

2    that scale?

3      A.      A Level 1 is the highest.          So, if you

4    took a Level 1 which is high but it was not

5    likely to be -- if the risk was Level 1 but

6    it was not likely that it would be, I don't

7    know what the word is, that it would happen,

8    it would be scored lower.           But if it's a

9    Level 1 and there's a high likelihood it

10   would happen, you do the math, and it just

11   produces a bigger number as far as the

12   overall risk.

13             And that's how they score the risks,

14   and that's how they determine what needs to

15   be -- I guess that's how they determine in

16   what order to address and remediate risk.

17                     MS. GRAUMLICH:      Why don't we

18            stop for lunch here?

19                     THE VIDEOGRAPHER:       The time is

20            12:28.    Off the video record.

21                           -   -   -

22                  (A recess occurred.)

23                           -   -   -

24                     THE VIDEOGRAPHER:       The time is


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                                                              Page 145
1    alleges that in May of 2013 a project to

2    pursue outsourcing of the service was

3    initiated by Taylor, her manager Jeffrey, and

4    Miller.    And I assume that means Steve

5    Jeffrey and Steve Miller.         Is that right?

6      A.      Yes.

7      Q.      How do you know who initiated a

8    project to outsource the service?

9      A.      Discussions around the office.

10     Q.      Discussions with whom?

11     A.      Dan Mong sat right next to me.           He

12   sat literally like we're sitting right here.

13     Q.      Okay.    But he was a level below you.

14   So I'm asking how do you know that the idea

15   of outsourcing the service came from Taylor

16   and Steve Jeffrey and Steve Miller as opposed

17   to someone even higher up in GSK?

18     A.      My understanding from talking to

19   people around the office was that it was an

20   idea that Taylor came up with which she sold

21   to Jeffrey and Miller.

22     Q.      Did you ever ask Taylor if it was her

23   idea?

24     A.      No.


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1    everybody knew, but we all knew that it was

2    Taylor.    Can I tell you a date or a

3    conversation?      No, I can't.

4      Q.      Now, you allege that, and this is

5    Paragraph 27, "Taylor excluded Reilly from

6    the outsourcing Request for Proposal

7    Technical/Business/Financial case

8    development, vendor bidding review, and

9    vendor due diligence".         What do you mean by

10   that?

11     A.      When they were putting out Requests

12   for Proposals for the different outsourcing,

13   I was not involved in a single meeting over

14   the course of nine or ten months.            I was the

15   system technical subject matter expert of

16   everything.      I had built the entire fleet.

17   And I was not included in a single

18   conversation, a single meeting.

19     Q.      Do you know who was involved in the

20   meetings?

21     A.      Yes.    Dan Mong sat right next to me,

22   and he was involved in it for nine months.

23     Q.      Who else?

24     A.      All I know is Dan Mong and Jo Taylor.


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                                                              Page 149
1    I don't believe even Oberholzer was involved

2    in it.    I think it was just Dan Mong and

3    Taylor, who were the two least technical

4    people who were the least qualified to make

5    an outsourcing decision, but I certainly

6    wasn't involved in it.

7      Q.      Do you know how Dan Mong became

8    involved?

9      A.      Yes.

10     Q.      How?

11     A.      Steve Miller had a town hall meeting

12   in the cafeteria about outsourcing, and Dan

13   Mong was very angry and very, very outspoken.

14   It stood out because he was talking very

15   loudly in front of everybody saying how it's

16   a terrible idea, it's not going to save

17   money, this and that, how we're efficient,

18   how -- and after that meeting, Steve Miller

19   came up to his desk, and I was sitting right

20   there, and Steve Miller kind of came over and

21   talked to him and said, "How would you like

22   to get involved".       Dan shared that with me.

23             And after that, after Dan realized

24   that the vice president was approaching him


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                                                              Page 150
1    and wooing him to be a part of it -- and they

2    actually created a job.         They decided instead

3    of outsourcing everybody but Taylor they were

4    going to keep one person.         Once Miller came

5    up and recruited him, indoctrinated him,

6    created a position that would be retained and

7    everybody knew he would get it, gave him some

8    other lucrative jobs of being like the

9    liaison to the leadership team, he was way on

10   board.    Dan went from being vocally

11   outspoken, and I mean that, outspoken at a

12   town hall meeting to being completely on

13   board.

14             And Dan told me right after Miller

15   walked away from his office.          I heard the

16   conversation.      And Dan said, "Hey, Steve

17   Miller the vice president, biggest guy in the

18   building just came up to me", and I think he

19   was on board.      Dan knew it was a bad idea,

20   but he saw a chance to save himself.

21     Q.      Did you express your feelings about

22   outsourcing during that town hall?

23     A.      No, I didn't.

24     Q.      Did you have an opinion?


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                                                              Page 154
1             one meeting.      I was not allowed to

2             see the Request for Proposal.           Never

3             saw anything.      I never spoke to

4             anybody at Blue Chip over the course

5             of a year and-a-half.

6    BY MS. GRAUMLICH:

7      Q.      Why do you think they didn't involve

8    you?

9      A.      Jo Taylor didn't want me involved.

10     Q.      Why not?

11     A.      Because I might tell them that their

12   performance is bad, that the security is a

13   disaster.     She wanted to get rid of me.

14     Q.      And if you had told them that the

15   performance was bad and security was a

16   disaster, do you believe that no one would

17   have bid on the outsourcing?

18     A.      I think it would have been more

19   expensive than it would have been at least

20   known.    I have the feeling that nobody at

21   Blue Chip knew what they were getting.             I saw

22   --

23     Q.      So do you think Jo didn't involve you

24   because she didn't want --


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                                                              Page 155
1      A.      Yes, she did.

2      Q.      -- anyone who would disrupt the plan

3    to outsource?

4      A.      Yes.

5      Q.      And the plan was to outsource the

6    entire service that you were the technical

7    lead on, that Rick Oberholzer worked on, that

8    Mike Bacon and Steve Farnden worked on,

9    right?    So the four of you would definitely

10   all lose your jobs, correct, or your jobs

11   would be eliminated?

12     A.      In a normal situation, when people

13   outsource, they keep their technical subject

14   expertise or at least the most competent.              If

15   it had been a normal situation and they had

16   made a legitimate case for outsourcing, I

17   would have been the one to have been retained

18   to oversee the service.         Jo Taylor was

19   retained, and she has never signed onto an

20   AS/400.    She came from Document Management

21   where she wasn't even really in IT.

22             In a normal situation, the subject

23   matter expert would be consulted, involved

24   and probably retained to manage the service


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                                                                  Page 165
1      Q.      Well, you just testified that people

2    were reporting issues to you that you didn't

3    specify.     Do you know whether those issues

4    were resolved?      Do you know whether there's

5    still issues with the AS/400?

6      A.      When I brought it to their attention,

7    I was put on immediate administrative leave.

8    I tried to bring it to their attention.              I

9    went -- the day that I returned nobody

10   reported it to me.       I looked in the database

11   to see that Blue Chip was -- the users were

12   complaining about performance, and Blue Chip

13   was just opening and closing the tickets.                A

14   plant in Egypt was down.         There was all kinds

15   of stuff going on, and when I reported it, I

16   was put on administrative leave immediately

17   and separated from everything.           So nobody

18   reported anything to me.         I was aware of it.

19   And when I reported it, they didn't deny it,

20   but I was immediately marginalized and

21   removed from the situation.          So, after that,

22   I don't know what happened.

23             But the last time I looked Blue Chip

24   had only had the system for three or four


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                           THOMAS REILLY

                                                              Page 168
1    conclusion.      That was a fact.

2      Q.      And after the outsourcing, in

3    addition to your position being eliminated,

4    was Rick Oberholzer's position eliminated and

5    he terminated?

6      A.      Rick Oberholzer, Mike Bacon and Steve

7    Farnden were allowed to apply for the open

8    position even though it was a foregone

9    conclusion that Mong would get it.            Everybody

10   knew it.     I talked to them about it.

11   Everybody knew it.       But they were allowed to

12   apply for it.      I was not allowed to apply for

13   the open position.

14     Q.      Why do you say you were not allowed

15   to apply for the position?

16     A.      Because I was told that with my grade

17   the retained position was going to be a very,

18   very low-level position and that I was too

19   high of a grade to apply for the position.

20     Q.      Who told you that?

21     A.      Jo Taylor.

22     Q.      Was Jo Taylor in the position at that

23   time or was Henry Bolton?

24     A.      Jo Taylor was in place until the end


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                                                              Page 169
1    of March, and then Bolton came on in the

2    beginning of April about around that time.

3      Q.      And aft- --

4      A.      He came in second quarter of 2014.

5      Q.      After Henry Bolton came in to serve

6    as manager while Jo Taylor was on adoption

7    leave, did Henry Bolton allow you to apply

8    for the position that was remaining that you

9    said Mong was going to get?

10     A.      Yes.    A window suddenly opened where

11   they sprung on me that I was allowed to apply

12   for this position, and I had to agree that if

13   I wasn't selected for the position I was

14   agreeing that I would be let go.

15             So the caveat was, here, you have a

16   one-week window to apply for something that

17   you haven't been involved in for the last ten

18   months, but the caveat is if you apply for it

19   and you don't get it you're agreeing to be

20   let go.

21     Q.      But was that also true for Mike

22   Bacon, Steve Farnden and Rick Oberholzer?

23     A.      That was true for them.

24     Q.      And did anyone ever tell you that if


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                                                                Page 170
1    you didn't apply your position would remain?

2      A.      By this time, I had already escalated

3    to Global Compliance three months earlier,

4    and it was an entirely different thread

5    happening.

6      Q.      My question was:       Did anyone at GSK

7    ever tell you that if you didn't apply for

8    the position that Dan Mong was eventually

9    selected for that your position would still

10   remain at GSK despite the outsourcing?

11     A.      Yes.

12     Q.      Who told you that?

13     A.      Michael Woods from Global Compliance

14   told me that based on the information I

15   escalated to him I would be safeguarded.              So

16   I went with his word that he was looking at

17   my very credible allegations and that he was

18   going to protect me.        And I was under the

19   assumption, especially with his visceral

20   response to the information I presented to

21   him, that he was going to safeguard me and he

22   knew that this whole outsourcing was a farce

23   to cover up performance and security

24   problems.


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                                                              Page 171
1              So I was going on the word of Michael

2    Woods who had instructed me that based on

3    what I showed him I could not be wrongfully

4    terminated for making serious allegations and

5    he was going to protect me.          So, in my mind,

6    I was not going to be terminated.

7      Q.      Did Michael Woods ever tell you that

8    you couldn't have your position eliminated as

9    a result of an outsourcing because you had

10   made complaints to the company?

11     A.      Can you repeat the question?

12     Q.      Did Michael Woods ever tell you that

13   GSK couldn't eliminate your position during

14   the outsourcing just because you had made

15   complaints to the company?

16     A.      No.    Michael Woods told me that he

17   took my allegations seriously, and he covered

18   the safeguarding and told me that I could not

19   be wrongfully terminated.         And --

20     Q.      What do you mean he --

21     A.      -- I had let him know that --

22     Q.      Excuse me one second.         What do you

23   mean he covered the safeguarding?

24     A.      He talked about how --


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                                                              Page 172
1      Q.      By that, do you mean

2    anti-retaliation?

3      A.      Safeguarding in general.         The

4    retaliation never stopped.          I dealt with

5    hostility until the day I walked out the

6    door.

7              The -- I had let him know three

8    months earlier when I escalated to Global

9    Compliance that this whole sham was going on

10   in attempt to eliminate me.          And he told --

11   he understood what I was saying, and he said

12   I could not be terminated if my allegations

13   were true and I would be safeguarded.

14     Q.      When did Michael Woods tell you that?

15     A.      When I met with him in Upper Merion.

16     Q.      Okay.    And when was that?

17     A.      It was January or February of 2014.

18     Q.      And the outsourcing was announced in

19   March of 2014, three months later, correct?

20     A.      Yes.

21     Q.      When Michael Woods met with you in

22   January of 2014, did he indicate to you that

23   he was aware that your team might be

24   outsourced?


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                                                              Page 175
1             system was not involved in a single

2             meeting, and it was apparent that

3             they were -- he bought into the fact

4             that the outsourcing was part of the

5             overall, and he ensured me that I

6             could not be eliminated if my

7             allegations were true.

8                      He said it was getting

9             attention at the highest levels of

10            the company, including Andrew.           He

11            told me that this could impact share

12            value if it were found out that we

13            were withholding information from

14            PwC.    My elimination was talked but

15            it wasn't talked about granular.

16            Because everything else I presented

17            to him was so big that I just think

18            he had to absorb what I was showing

19            him, and he knew the ramifications

20            because he came from Global Internal

21            Audit.    And he was my contact ten

22            years earlier when we rolled out

23            Sarb-Ox.     He knew exactly what was

24            going on.


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                                                              Page 178
1      A.      No.    The primary concern was to relay

2    extremely serious problems with the global

3    manufacturing and enterprise financial

4    systems that were impacting GSK around the

5    world.    That was the primary focus of the

6    conversation.      It wasn't the --

7      Q.      So the primary focus --

8      A.      -- details of outsourcing.          It was --

9      Q.      You were not interested in trying to

10   save your job.      Is that what you're saying?

11     A.      I would never say that.         My whole, my

12   whole purpose of doing this was to save the

13   service from having another CiDRA.            Because I

14   had been through CiDRA.         I was a loyal

15   employee.     I took pride in the system that I

16   had built.      I was watching it being ruined.

17             I was trained on corporate integrity

18   agreement, business ethics, corporate

19   conduct, Sarb-Ox.       I was trained on

20   everything.      I was a company guy.        I was

21   trying to protect the company.           I wasn't

22   trying to just protect myself.           I wanted to

23   save my job, of course, but I did everything

24   that I was trained to do by escalating this.


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                                                              Page 188
1      A.      I was working under the assumption

2    that I was going to be protected by Michael

3    Woods, so I didn't put a whole lot of thought

4    into this.     I was living in parallel

5    realities.     One was Michael Woods was telling

6    me I was protected and he was doing an

7    investigation, and the other was GSK IT

8    telling me that I was going to be eliminated.

9              So I was actually in parallel worlds,

10   and I could not push back with GSK IT to say,

11   "Hey, I'm not going to apply for this because

12   I'm going to wait for the Michael Woods

13   investigation".       I just had to keep my mouth

14   shut and just hope that Michael Woods was

15   going to come through with his investigation.

16             So I was in a difficult, I was put in

17   a difficult position by being told one thing

18   by Michael Woods and being told something

19   else by GSK IT.       And --

20     Q.      Putting aside your complaint to

21   Michael Woods, would you have been willing to

22   take a downgrade to stay employed at GSK?

23     A.      I wanted to retain my current

24   position to save the service.


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                                                              Page 195
1    handed you what's been marked as Exhibit-7 to

2    your deposition.       Do you recognize that

3    document?

4      A.      Yes.

5      Q.      Did you create it?

6      A.      Yes, I did.

7      Q.      Under Wednesday, it says, Number 1,

8    "Attended meeting with Henry and Robert

9    Koroly to discuss early termination and

10   package".     What was that meeting about?

11     A.      I think it was to discuss early

12   termination and package.

13     Q.      What does that mean?

14     A.      It means to me that Henry and Robert

15   Koroly were not aware that Michael Woods was

16   doing an active investigation, and I was

17   awaiting the outcome.        I could not decline

18   that meeting and say, "Hey, Henry and Robert,

19   I'm not going to attend this meeting because

20   Michael Woods from Global Compliance is doing

21   an investigation.       I'm waiting the outcome.

22   He said he'd protect me".         I committed to

23   Michael Woods that I would not discuss it

24   with anybody internally or externally, so I


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                           THOMAS REILLY

                                                              Page 201
1      A.      Yes.

2      Q.      And when did you go out on disability

3    leave?

4      A.      July 2014.

5      Q.      Do you remember the last day that you

6    worked?

7      A.      Do I remember the last day?          I don't

8    know if I knew it was my last day, so I don't

9    --

10     Q.      No, the last day you worked before

11   going on disability leave.          I'm sorry I

12   wasn't precise.

13     A.      I don't know.      I don't remember that

14   day, no.

15                     MS. GRAUMLICH:      And I'm going

16            to ask the court reporter to mark as

17            Reilly-8 a copy of his Disability

18            Claim Form to be subject to our

19            protective order.       I might have given

20            you one too many.

21                     MS. JENKINS:      Sorry.

22                     MS. GRAUMLICH:      Reilly-8?

23                     THE COURT REPORTER:        Yes.

24                           -   -   -


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                                                              Page 203
1    worked?

2      A.      I mean it was right around that time.

3    I don't know the exact day.

4      Q.      On or about July?

5      A.      On or about July 1st.

6      Q.      And after going on disability leave

7    in early July 2014, did you ever return to

8    the workplace?

9      A.      No.    I returned to work with an

10   agreement to work from home until April 2015.

11     Q.      And when did you return -- strike

12   that.

13             When did you start working from home?

14     A.      The first business day of 2015,

15   whatever that was.

16     Q.      And beginning January of 2015, did

17   you have any face-to-face contact with Steve

18   Oberholzer (sic) or Dan Mong --

19     A.      No.

20     Q.      -- or any of the members of your

21   team?

22     A.      No.

23     Q.      Did you have any phone calls with any

24   of the members of your team?


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                                                              Page 205
1    I believe was the one that you said.

2    October.

3      Q.      I'm sorry?

4      A.      I think the final date that you said

5    was the date, yes.

6      Q.      Last day of October 29, 2014.

7      A.      Sounds right.

8      Q.      Now, did Michael Woods ever

9    substantiate the complaints that you made to

10   him?

11     A.      I never spoke to Michael Woods again.

12     Q.      You never spoke to him again?

13     A.      No.    He --

14     Q.      Did you have any e-mails with him?

15     A.      Actually, that's not true.          I spoke

16   with him in October from home.

17     Q.      And what did he tell you when you

18   spoke with him in October?

19     A.      He told me that he was going to try

20   to get in touch with me in August but didn't

21   realize I was on short-term disability, which

22   was odd because I had told him on a number of

23   occasions that I was working in an extremely

24   hostile environment and I was wondering why


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                                                              Page 206
1    he wasn't protecting me.         But not only wasn't

2    he protecting me when he said he would, he

3    didn't even know I was out of the office.

4      Q.      Why would you expect Michael Woods to

5    know whether you were in the office or not?

6      A.      If you're telling somebody that

7    you're being harassed and you're working in a

8    hostile environment, you'd think that they'd

9    know if you're in the office or they at least

10   know your situation.        I would think.

11     Q.      Why would you think that?

12     A.      He was safeguarding me.         I was

13   reporting a hostile environment.           Maybe he

14   would check in with me to see, "Hey, how is

15   that hostile environment".          It just seemed

16   odd to me that he didn't even know for months

17   that I was out of the office.           It just seemed

18   odd to me.     For somebody who was safeguarding

19   me and who was being told on a number of

20   occasions that the heat was being turned up,

21   it just seemed odd to me.

22     Q.      What did you think safeguarding

23   meant?

24     A.      Everything that GSK policy says.


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                                                              Page 208
1                      THE COURT REPORTER:        Yes?

2                      THE WITNESS:      Yes.

3    BY MS. GRAUMLICH:

4      Q.      When did you communicate with him?

5      A.      I sent him a voluminous amount of

6    e-mails January through April or May.

7      Q.      When you spoke with Michael Woods in

8    October of 2014, what did you tell him about

9    what -- strike that.

10             When you spoke with Michael Woods in

11   October of 2014, what did he tell you about

12   the results of his investigation?

13     A.      He told me that his investigation

14   ended in April or May.         He never told me

15   that.

16     Q.      And what did he tell you if anything

17   about what he concluded?

18     A.      He wouldn't tell me.

19     Q.      He wouldn't tell you whether he

20   substantiated your complaints --

21     A.      No.

22     Q.      -- or not?

23     A.      He wouldn't tell me.        He said that

24   his investigation ended in April or May,


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                                                                 Page 209
1    which I didn't know.        He never told me.          He

2    told me he wrote up his report in June or

3    July, which he never told me.           I asked him if

4    I could have a copy of the report.            He said

5    no.

6              The thing that struck me as odd was

7    he said he, by phone, that he wrote up the

8    report in June/July, yet the report that he

9    attached to the Reed Smith response to OSHA

10   was dated 12 September.         So he told me that

11   he wrote his report in June/July, yet it was

12   dated 12 September.        I didn't understand

13   that.    It sounded kind of fishy to me.

14             I just told him that I was just

15   surprised I didn't know any of that.             He

16   never disclosed to me that he had made them

17   aware of the investigation, which explained

18   why the hostility got worse because he had

19   made Miller and Taylor aware.           He never told

20   me that -- he never told me anything.             He

21   never protected me.        He never contacted me.

22   He just didn't -- he, in my -- in the

23   rearview mirror if I had to go back and look,

24   he was just leading me on to try and run out


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                                                               Page 215
1      Q.      Protect yourself how?

2      A.      Could have contacted the SEC.           Could

3    have contacted the FDA.         Could have contacted

4    the DOJ.     I could have contacted the Serious

5    Fraud Office.      I don't know, I could have

6    done what he told me not to do and report it

7    to an outside agency.        I could have reported

8    it to OSHA.      He --

9      Q.      Did Michael Woods tell you not to

10   contact the SEC?

11     A.      He told me not to contact, not to

12   share this with anybody internally or

13   externally.

14     Q.      And by that, did you understand that

15   you couldn't report to a government agency?

16     A.      Yes, I took him literally.

17     Q.      Did you understand that GSK policy

18   encourages employees to report wrongdoing to

19   government agencies, allows them to report

20   it?

21     A.      I was going by what he told me.

22     Q.      But you were familiar with GSK's

23   policies, right?

24     A.      Now I am.


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                                                          Page 1
           IN THE UNITED STATES DISTRICT COURT

              EASTERN DISTRICT OF PENNSYLVANIA

                          - - -

    THOMAS REILLY,                :   NO. 17-2045

                    Plaintiff,    :

              vs.                 :

    GLAXOSMITHKLINE, LLC,         :

                    Defendant.    :

                        - - -
              Thursday, January 10, 2019
                        - - -

         DISCOVERY DEPOSITION of DANIEL MONG, taken at

    Reed Smith, LLP, Three Logan Square, 1717 Arch

    Street, Suite 3100, Conference Room L,

    Philadelphia, Pennsylvania, commencing at 9:35

    a.m., before Gina E. Scheetz, Registered Merit

    Reporter, Certified Realtime Reporter, a New Jersey

    Certified Court Reporter, a Delaware Certified

    Court Reporter, Certified LiveNote Reporter,

    Licensed CaseViewNet Realtime Provider, an iCVNet

    Certified Reporter and Notary Public.

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                                                          Page 2
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15    ALSO PRESENT:
16            ELIZABETH FEENEY,
                GlaxoSmithKline, LLC
17
                 THOMAS REILLY
18
                              - - -
19
20
21
22
23
24


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4         By Mr. Pollins                                 5
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6                     E X H I B I T S
7                             - - -
8    NUMBER               DESCRIPTION                    MARKED
9    GSK 1           E-mail String, 3 pages              154
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5     Page Line         Page Line               Page Line
6     None
7
8     Request for Production of Documents
9     Page Line         Page Line               Page Line
10    None
11
12    Stipulations
13    Page Line         Page Line               Page Line
14    None
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16    Question Marked
17    Page Line         Page Line               Page Line
18    None
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1                       - - -
2                       DANIEL MONG, having been duly
3              sworn, was examined as follows:
4                       - - -
5                       MADAM REPORTER:        And the
6              witness will read and sign; correct?
7                       MS. GRAUMLICH:       Yes.
8    BY MR. POLLINS:
9              Q        Please state your full name.
10             A        Daniel Mong.
11             Q        What's your address, Mr. Mong?
12             A        1515 Ivywood Way in Lansdale,
13   PA.
14             Q        19 -- the ZIP there?
15             A        19446, yes.
16             Q        We're here today for a
17   deposition.
18                      Have you ever had a deposition
19   taken before?
20             A        No.
21             Q        If I ask you a question and
22   you don't hear my question, please let me
23   know and I'll repeat the question.              Will you
24   agree to do that?


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                        DANIEL MONG

                                                         Page 48
1    friends with him?
2              A        No.
3              Q        Okay.    Do you recall the time
4    that you were the iSeries service analyst,
5    did you have to travel at all for your job?
6              A        I went to conferences in
7    Rochester, Minnesota, where the IBM
8    headquarters are.
9              Q        Anywhere else?
10             A        I did -- yeah.       I traveled to
11   Cidra, Puerto Rico, for business once, and I
12   think that was it.         That was the only time I
13   traveled.
14             Q        And you said your job was
15   service-oriented; right?
16             A        Yes.
17             Q        And Mr. Oberholzer's was
18   hardware.      What was Tom's focus?
19             A        Tom primarily, he helped with
20   the design of the server environment.                In
21   order to make it a common platform, he
22   developed what was called a standard build,
23   so Tom did a lot of programming effort to
24   design a standard build that could be


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                        DANIEL MONG

                                                         Page 49
 1    implemented on each of these servers, which
 2    it did greatly, you know, simplify the
 3    overall management, so that -- that was
 4    Tom's role.
 5             Q         The AS/400 servers?
 6             A         Yes.
 7             Q         Which were the computers that
 8    were being used worldwide at Glaxo?
 9             A         Yes.
10             Q         Are they still the same
11    computers?
12             A         They are, yes.
13             Q         What's ERP?
14             A         It stands for Enterprise
15    Resource Planning.
16             Q         How does that relate to the
17    computer system at Glaxo?
18             A         Well, the ERP would be --
19    like, the JD Edwards Financial Service --
20    well, we just referred to it as JD Edwards
21    and the manufacturing software's called
22    BPCS, the acronym BPCS.
23                       You know, ERP, that
24    terminology is really more closely aligned


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                        DANIEL MONG

                                                        Page 107
1    background, but an understanding of this
2    framework that's called ITIL.             It stands for
3    Information Technology Infrastructure
4    Library.
5              Q        I-T-I-L?
6              A        I-T-I-L, yes.       And that's a --
7    like a globally -- or global, you know --
8    it's called a framework for how to manage an
9    i -- not an iSeries -- any computer service,
10   so it takes all various things into
11   consideration; incidents, problems, changes,
12   you know, customer feedback and, you know,
13   continuous improvement.           It's like a whole
14   thing.     So she was very adept in that.
15             Q        How did that qualify her to
16   become the AS/400 manager?
17             A        I don't know.       That decision
18   wasn't mine, and I don't even remember who
19   the director was at that time that either Jo
20   or Brian reported to to make that decision.
21   I just know that they swapped roles.
22             Q        Are you aware of anyone in the
23   department saying they felt Jo Taylor was
24   not qualified to become the manager of


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                        DANIEL MONG

                                                        Page 108
1    AS/400?
2              A        Yes.
3              Q        You were looking at Tom.           So
4    is Tom one of those people?
5              A        Yes.
6              Q        Did anyone else say that?
7              A        I think we all questioned it,
8    honestly.
9              Q        Why did you question it?
10             A        Uhm, just because.         Uhm, yeah,
11   I didn't know much about her.             That was it.
12   It was because I didn't have any facts.
13             Q        Why was Tom questioning it?
14             A        He was -- I mean, I would be
15   speculating, but, you know --
16                      MS. GRAUMLICH:       I instruct you
17             not to speculate.
18                      THE WITNESS:       Yeah, um-hmm.
19   BY MR. POLLINS:
20             Q        So when I asked you why did
21   Tom question it, I really -- maybe it's a
22   poor question.
23                      But did you talk about it with
24   Tom?    Did Tom say, here's why I think Jo


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                        DANIEL MONG

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1    umbrella.      You know, there was a lot of
2    people that were slated to go at that time.
3              Q        Are there any other people
4    that when I asked you or you mentioned that
5    people have lost respect for -- it sounds
6    like you're telling me people that had lost
7    respect for the team, not necessarily Tom;
8    is that correct?
9              A        Yeah.    It was a dysfunctional
10   team, so, you know . . .
11             Q        Is there anyone else that you
12   haven't told us about yet?
13             A        No.    I don't recall any other
14   names right now.
15             Q        Whose idea was it to outsource
16   the iSeries department?
17             A        I don't know if it was Jo's
18   idea, but it was sort of that's who I
19   learned, you know, the idea from first.                She
20   mentioned it in a meeting saying that if we
21   are unable to get along and work together
22   that she would have to look at an
23   outsourcing option, and that was at a
24   meeting we had with HR because I call it the


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                        DANIEL MONG

                                                        Page 136
1    Kendall meeting.
2                       The woman's name was Kendall.
3    She came in sort of to referee this -- this
4    meeting and -- yeah, so that was sort of
5    the -- the conclusion of that.             You know, we
6    need to start working together as a team.
7              Q        This was obviously before Jo
8    took her adoption leave; right?
9              A        Yeah, um-hmm.       Yes.
10             Q        So what year was that?
11             A        I'd say 2012.
12             Q        Kendall was an HR person?
13             A        She was an HR rep, yeah.
14             Q        Who was in the meeting besides
15   you, Kendall, Jo -- who else?
16             A        And Tom, Rick and Judd.
17             Q        So Jo said if we can't get
18   along we're gonna have to outsource?
19             A        That was a comment she made
20   towards the end of the meeting, yes.               She
21   didn't said we have to outsource.              She would
22   have to consider outsourcing.             So that's the
23   first time I learned of sort of a tangible,
24   like, action.


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                     MICHAEL S. WOODS

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           IN THE UNITED STATES DISTRICT COURT

              EASTERN DISTRICT OF PENNSYLVANIA

                          - - -

    THOMAS REILLY,                :   NO. 17-2045

                    Plaintiff,    :

              vs.                 :

    GLAXOSMITHKLINE, LLC,         :

                    Defendant.    :

                        - - -
              Friday, January 25, 2019
                        - - -

         DISCOVERY DEPOSITION of MICHAEL S. WOODS,

    Director, Senior Information Security Consultant,

    taken at Reed Smith, LLP, Three Logan Square, 1717

    Arch Street, Suite 3100, Conference Room 31C,

    Philadelphia, Pennsylvania, commencing at 9:03

    a.m., before Gina E. Scheetz, Registered Merit

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    Certified Court Reporter, a Delaware Certified

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                                                          Page 2
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6
7             REED SMITH, LLP
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              901 East Byrd Street
9             Suite 1900
              Richmond, Virginia 23219-4068
10            804.344.3423
              E-mail: mpassero@reedsmith.com
11              Representing the Defendant
12                       - - -
13    ALSO PRESENT:
14            ELIZABETH FEENEY,
                GlaxoSmithKline, LLC
15
      PRESENT TELEPHONICALLY:
16
                  THOMAS REILLY
17
                                 - - -
18
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22
23
24

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         Senior Information Security Consultant
4
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6     None
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10    None
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12    Stipulations
13    Page Line         Page Line               Page Line
14    None
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16    Question Marked
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18    None
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24


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                     MICHAEL S. WOODS

                                                          Page 5
1                         - - -
2                         MICHAEL S. WOODS, DIRECTOR,
3               SENIOR INFORMATION SECURITY
4               CONSULTANT, having been duly sworn,
5               was examined as follows:
6                         - - -
7                         MADAM REPORTER:         Would you
8               like the witness to read and sign?
9                         MR. PASSERO:       Yes.
10                        MADAM REPORTER:         Thank you.
11    BY MR. POLLINS:
12              Q         Please state your full name.
13              A         Michael Stanley woods.
14              Q         What's your address, Mr.
15    Woods?
16              A         412 Lafayette Drive,
17    Hillsboro, North Carolina 27278.
18              Q         We're here for a deposition.
19    You've had a deposition taken before?
20              A         No.
21              Q         Okay.    So I'm gonna give you
22    some preliminary instructions.
23                        If I ask you a question and
24    you don't hear my question, please let me


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                     MICHAEL S. WOODS

                                                         Page 43
1                       Is that Sarbanes-Oxley when
2    you say that in your e-mail?
3                       MR. PASSERO:       Objection.
4              Where are we talking about?
5                       MR. POLLINS:       If you look at
6              the second paragraph, second line, it
7              talks about a Sarbanes readiness
8              review.     Next paragraph talks about
9              Sarbanes applications.
10                      The next line, non-Sarbanes
11             systems.     Right after that it says
12             Sarbanes, colon, and it has what
13             looks like three servers, JD Edward,
14             International, JD Edwards and then
15             non-Sarbanes.
16   BY MR. POLLINS:
17             Q        So when you say the word
18   "Sarbanes," are you talking about
19   Sarbanes-Oxley?
20             A        Yes.
21             Q        Okay.    And two-thirds of the
22   way down where it says Sarbanes:              JD
23   Edwards, and then USSBCH01, what is that?
24             A        That's a server name.


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                 EXHIBIT 5
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     Transcript of Jo Taylor
                      Date: January 15, 2019
              Case: Reilly -v- Glaxosmithkline, LLC




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1              IN THE UNITED STATES DISTRICT COURT
           AND FOR THE EASTERN DISTRICT OF PENNSYLVANIA
2       ______________________________
                                       :
3       THOMAS REILLY                  : Case No:
                                       : 2:17-CV-
4                      Plaintiff       : 02045-JCJ
                                       :
5                      -v-             :
                                       :
6       GLAXOSMITHKLINE, LLC           :
                                       :
7                      Defendant       :
        ______________________________:
8
9                               Deposition
10                                    of
11                              Ms Jo Taylor
12                   On Tuesday, January 15th 2019
13                       Commencing at 12.35 pm
14
15                               Taken at:
16                            Reed Smith, LLP
17                            Broadgate Tower
18                          20 Primrose Street
19                           London, EC2A 2RS
20                            United Kingdom
21
22
23
24      Reported by: Miss Pamela Henley
25      Job No.    224768
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                                   Transcript of Jo Taylor
                                Conducted on January 15, 2019            2

1                         A P P E A R A N C E S
2
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6                Wayne, Pennsylvania 19087
7                Telephone:       610 896 9909
8                Email: scott@pollinslaw.com
9                         Tashell@pollinslaw.com
10                        BY:     MR SCOTT M POLLINS
11                                MS TASHELL J JENKINS
12                                (Via telephone)
13
14      On behalf of the Defendant:
15               REED SMITH, LLP
16               Riverfront Plaza - West Tower
17               901 East Byrd Street, Suite 1900
18               Richmond, Virginia 23219-4068
19               Telephone:       804 344 3456
20               Email: bgraumlich@reedsmith.com
21                        BY:     MS BETTY S W GRAUMLICH
22
23
24
25

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                                   Transcript of Jo Taylor
                                Conducted on January 15, 2019            3

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2                Three Logan Square
3                1917 Arch Street, Suite 3100
4                Philadelphia, Pennsylvania 19103
5                Telephone:       215 851 8221
6                Email: arollins@reedsmith.com
7                         BY:     MS ANNE E ROLLINS
8
9       Court Reporter:           Miss Pamela Henley
10
11
12
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15
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                                 Transcript of Jo Taylor
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14                        Brian Gillies dated 9 March
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18                        Jo Taylor dated April 18,
19                        2012                                  99
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23      Exhibit 11        Email chain                          114
24      Exhibit 6         Email from Dan Mong to Jo
25                        Taylor and Tom Reilly

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                                 Transcript of Jo Taylor
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3       Direction to Witness not to answer
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5       63       16
6       170      1
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8       Request for Production of Documents
9       Page     Line
10      None
11
12      Stipulations
13      Page     Line
14      None
15
16      Confidential Portion
17      Page     Line
18      None
19
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21
22
23
24
25

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                                   Transcript of Jo Taylor
                                Conducted on January 15, 2019            24

1                A.       No.
2                Q.       Have you ever had any
3       communications with a place called the Serious
4       Fraud Office in the UK?
5                A.       No.
6                Q.       Do you know what the Serious Fraud
7       Office is?
8                A.       Yes, it is an organizational body
9       that investigates serious crimes and fraud.
10               Q.       Are you aware of anyone who has
11      ever worked for you at Glaxo that communicated
12      with the Serious Fraud Office?
13               A.       No.
14               Q.       When you were the iSeries service
15      manager did you have direct reports?
16               A.       Yes.
17               Q.       Who were they?
18               A.       Tom, Rick, Dan, Steve, Mike -- and
19      Mike Evani (phonetic).
20               Q.       When you say, "Rick" you mean
21      Rick Oberholzer?
22               A.       Yes.
23               Q.       And when you say, "Dan" you mean
24      Dan Mong?
25               A.       Yes.

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                                  Transcript of Jo Taylor
                               Conducted on January 15, 2019             37

1                A.       No, because I went out on adoption
2       leave for a period.
3                Q.       Did you ever do a performance
4       review for Tom Reilly?
5                A.       Yes.
6                Q.       How many?
7                A.       2.
8                Q.       What years were those?
9                A.       '13 and '14.
10               Q.       Was one better than the other?
11               A.       Yes.
12               Q.       Which one was better?
13               A.       2013.
14               Q.       Why was 2013 performance for
15      Tom Reilly better than 2014?
16               A.       Because I had only recently taken
17      on the team when the performance reviews were due
18      to be done at the end of the year, and I was still
19      getting to know the team, and I based my
20      performance review on feedback from Brian Gillies
21      and what I had observed in the 3 or 4 months since
22      I took over.
23               Q.       So why did that mean that one was
24      better than the other?         I am not -- I do not
25      understand.

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                                 Transcript of Jo Taylor
                              Conducted on January 15, 2019              54

1       to put the phone on mute and not, like, re-call
2       back in, is that okay?
3                         MS GRAUMLICH:       Yes.
4                     (Off the record at 1.34 pm)
5                             (Recess taken)
6                      (On the record at 1.39 pm)
7       BY MR POLLINS:
8                Q.       Ms Taylor, have you ever heard of
9       the term, uncapped processors?
10               A.       Yes.
11               Q.       What does that mean?
12               A.       It means that a system is able to
13      use all of the resources that it has got.
14               Q.       So what would that mean for an
15      AS400?
16               A.       It would mean that if a frame has 3
17      central processing units that any of the LPARs on
18      that frame could make use of those processors if
19      they are free and idle.
20                      (Reporter clarification)
21               Q.       What is an LPAR, Ms Taylor?
22               A.       It is a logical partition or carve
23      up of a system to create a server.
24               Q.       Does that -- when processors on
25      this type of system are uncapped does that impact

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                                 Transcript of Jo Taylor
                              Conducted on January 15, 2019               106

1       change how the service was doing.            You know, doing
2       knowledge transfer sessions so that the US could
3       support the UK machines, and the UK could support
4       the US machines.      We looked at changing the
5       service model so that the team were not on call
6       out every week-end.        That, you know, they could
7       move to a 1 in 4 way of being on call.
8                          And also, you know, there was an
9       external conference that was running and we would
10      normally only send 1 person to that.            But on that
11      occasion I decided to send two in the hope that,
12      you know, spending some, you know, time together,
13      some social time together, as well as, obviously,
14      you know, attending the business conference that
15      might, you know, help build relationships.
16                Q.       Okay.    Take a look at GSK-10.       It
17      is a several page email. Let us take 5 minutes. It
18      will take you a couple of minutes to review that.
19      I have to go to the rest room.
20                         MS GRAUMLICH:      We need to take a
21      break on this end as well. So what was the number
22      of the exhibit?
23                         MR POLLINS:     GSK-10.
24             (Exhibit 10 marked for identification)
25                     (Off the record at 2.50 pm)

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                                 Transcript of Jo Taylor
                              Conducted on January 15, 2019               107

1                             (Recess taken)
2                      (On the record at 2.58 pm)
3       BY MR POLLINS:
4                 Q.       Ms Taylor, have you had a chance to
5       review GSK-10?
6                 A.       Yes.
7                 Q.       What is that you and Tom are
8       discussing in these emails?
9                 A.       So the subject of the email was
10      notification of a physical security and data
11      integrity audit. However, the subject of Tom's
12      email is around performance issues across multiple
13      systems that have nothing to do with the Panama
14      audit.
15                Q.       Why don't they have anything to do
16      with the Panama audit?
17                A.       Because they are talking about
18      systems that are not the Panama market.
19                Q.       So it is just a geographical thing
20      then?
21                A.       Yes, he is talking about -- so, for
22      example, 6P9 does not support the Panama market,
23      it supports Malaysia.
24                Q.       And who is doing this audit?
25                A.       I believe it was the Panama

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                                 Transcript of Jo Taylor
                              Conducted on January 15, 2019               108

1       government tax authority.
2                 Q.       Is that who Graciela is?
3                 A.       No, she was the -- I believe she
4       was a finance manager in Panama.
5                 Q.       Who worked for Glaxo?
6                 A.       Yes.
7                 Q.       So the audit was being done by the
8       Panamanian government?
9                 A.       Yes.
10                Q.       Okay.
11                A.       I believe so.
12                Q.       Why did you -- in the first page at
13      the top of the first page -- why do you mention
14      PwC, which I assume you mean
15      PriceWaterhouseCoopers?
16                A.       Yes, so I do not believe I was
17      copied into the full email thread and my
18      assumption was it was an external auditor, and PwC
19      were our external auditors at the time.
20                Q.       Okay. And why do you say that you
21      do not want the external auditor,
22      PriceWaterhouseCoopers, picking up any insights
23      that are not part of the current scope?
24                A.       So the scope of the audit was very
25      clear on what they were coming in to do, and that

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                 EXHIBIT 8
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From: Jo Taylor
Sent: Wednesday, January 16, 2013 2:22 AM
To: Tom Reilly
Subject: Re: INSPECTION TO PANAMA-SERVERS - STATUS? Monthend
Performance

Hi Tom

Understand but let's keep the focus and scope tight on the audit. We do not
want PWC picking up any insights that are not part of the current scope

Do not mention this to graciela. If she does just politely request that its
discussed on another day

Thanks

Jo

Sent from my iPhone

On 15 Jan 2013, at 19:06, "Tom Reilly" <Tom.Reilly@gsk.com> wrote:

Jo, I'll be spending time with Graciela on Thursday and know her well enough to
be sure the subject of server performance will come up, and for valid reasons,
even if out of scope regarding the purpose of her visit. A while back when Latina
were consolidating users/workloads on KOPSA1P2 (under my radar) and before
shared processors were enabled, I worked with her on an emergency basis to
resolve much less severe performance problems which I did successfully. At this
point, every processing resource threshold on that server including memory
faulting, disk arm utilization, and end user response time are out of range and
unacceptable. Non peak performance on KOPSA1P2 can be bad but the
December/January month end performance was horrendous, much worse than
India Cx, so I'm preparing myself for the subject to be broached during her visit.
Tom

> Wednesday 2-January @ 13:00
>
> [cid:image018.png@01CDF322.2E07E780]
> [cid:image019.png@01CDF322.2E07E780]
> [cid:image020.png@01CDF322.2E07E780]
>
>
> Wednesday 2-January @ 17:30



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>
> [cid:image021.png@01CDF322.2E07E780]
> [cid:image022.png@01CDF322.2E07E780]
> [cid:image023.png@01CDF322.2E07E780]
>


From: Jo Taylor
Sent: Friday, August 17, 2012 4:08 AM
To: Tom Reilly
Subject: RE: INSPECTION TO PANAMA-SERVERS - STATUS? Monthend
Performance

Tom

I will support you on this but I urge you to talk to your team mates about this
further. We also have the option of bringing in IBM who would be able to validate
your findings if you feel you lack creditability within the team, although I don't
think you actually need that.

I'd like to see some performance graphs over time rather than green screens if
possible to demonstrate more easily what you are trying to say.

Dan is on point for bringing learning back from BCO Project on Capacity and
Performance, so that we can implement the same service within the AS400 team
(not the same tool probably, just the process). If you want I can facilitate a
discussion between you and Dan but I do feel you will gain more "friends" by
offering to help set up the capability and lead between you a Continuous Service
Improvement to resolve these issues. However to start this gather the data
graphs, Voice of the Customer feedback to support you.

With regard to the audit, I doubt they will ask any performance questions. As I
understand it the scope is on installation, physical security, and Data Integrity/
Protection.
With regard to 6P9, I'll reach out to Mike and Steve to discuss with you your
thoughts on the issue, but again have the facts and data (graphs) to support
your case.

Thanks for once again bringing this to my attention

Regards

Jo.



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> ________________________________
>
> [cid:image001.png@01CCDAAA.2FC3AC30]

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Enterprise Systems & Technologies
End User & Infrastructure Services


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From: Tom Reilly
Sent: 16 August 2012 20:50
To: Jo Taylor
Subject: RE: INSPECTION TO PANAMA-SERVERS - STATUS? Monthend
Performance

Hi Jo, In light of Graciela's upcoming Panama inspection/audit visit to the GDC, I
feel obligated to bring Latina month end performance to your attention again. I
know we've discussed this and you prefer to wait until they raise it as an issue
but it would be awkward and generate negative visibility if raised during their visit
and the below were to jump off the screen. I won't be here during their visit but
know Graciela personally so believe the issue will be raised and wouldn't be
surprised if the visit weren't in some way related to poor performance. The
Latina servers experienced performance problems last year during their JDE
consolidation, because workload was being added under the radar, but they sat
on the issue for some time before reporting it to us. I was able at the time to
retune the server and solve the problems once they were brought to my attention
but can no longer do the same because both performance strategy and my
influence changed direction suddenly.

Similar performance issues are surfacing on other servers in the fleet but
different people with different levels of understanding and expertise get involved
so it's unclear who owns performance and seems our approach it inconsistent.



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That's the case on US1SA6P9 where I thoroughly disagree with the action taken
and the response sent to Julie but then again I see things that others don't. The
action appears to have been done to address the symptoms but in my opinion
are actually going to make the problems worse. I also heard that E1/OMARR
users are again reporting performance problems which will make my CHNA ERP
integration involvement awkward because I disagree with our basic performance
strategy and will only be able to offer a finger in the wind. It may be time to
identify a performance subject matter expert within the team (doesn't have to be
me) to own performance including CHNA ERP and to set direction so we at least
have a consistent approach.

I can offer more background on this if you'd like to discuss but I understand my
opinion is not necessarily shared by others so would like to avoid a defensive
group discussion or be viewed as a non flexible thinker. My opinion may be in
the minority but that doesn't necessarily make it wrong. I've been tuning servers
for 25+ years and was the subject matter expert within GSK for years who tuned
almost exclusively. If my credibility on the subject is in question or I can't
influence basic performance strategy, I'd prefer not to be involved in or held
accountable for the success of something like CHNA ERP integration which is so
mission critical but in my opinion being approached in a way that's unpredictable
and unsustainable. Hope I didn't say too much by expressing my views but feel
it's necessary to express my opinion since I'm usually the first one approached
regarding performance but find myself biting my tongue so as not to rekindle
controversies of the past. Tom


KOPSA1P2 month end performance print screens below: For background
purposes, 99% of end users on a well tuned server should have sub second
response time (Avg Rsp) each time they press Enter (Tns Count)...




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From: Tom Reilly
Sent: Wednesday, April 10, 2013 7:28 AM
To: Jo Taylor
Subject: RE: AAR Review - JDE Performance Issues



Jo, I feel the need to share my opinion on this After Action Review before
today’s TC even if it’s controversial. I’d said for months and as late as mid
January, weeks before this incident and escalation began, that KOPSA3P3
was I/O unstable due to uncapped processors but over resourced to
compensate. Although I wasn’t aware of or asked to participate in the
Canada JDE to E1 migration, I did raise concerns at the same time that
members of our team were being asked in general to do things for which they
were unqualified although we agreed to disagree . NAPIT assumed because
of past E1 performance tuning and load testing that we would do a
performance/capacity analysis during this effort and make detailed
recommendations to avoid such an incident. The people from our team
assigned to participate in this effort didn’t take capacity and/or performance
into consideration and instead treated the effort more as a simple save/restore
exercise. After the escalation began, Al Washco requested of Angela that I be
part of the SWAT team because of my experience with the initial delivery of
E1 and later migration of OMARR. I went to Franklin Plaza to participate in
the SWAT team as the EIS performance SME but my recommendations were
initially redirected and misinformation was distributed to you and EIS
leadership. I was supposed to be in charge at FP of the remediation from an
AS400 Server Operations standpoint and my reputation was at stake with
NAPIP but I was reprimanded instead for pointing out the exclusion of my
opinion and misinformation in the daily update. My analysis,
recommendations, and procedures eventually stabilized the service although
others, including those who actually contributed to the problems, shared
credit for the remediation. In my opinion, if I’d been involved in the Canada
JDE migration, the incident/escalation would have been prevented and, if
problems had arisen, the remediation would have gone smoothly if my
subject matter expertise and opinion were valued. The lack of
communications between our team and extremely undisciplined actions
during the remediation caused things to happen which put the entire recovery


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effort at risk. NAPIT and the EIS BP engaged AS400 server operations on
this combined E1 software upgrade and Canada JDE migration effort as they
should so in my opinion did their job and did not contribute to the incident.
If we don’t learn a lesson from this, there’s a risk that the same will happen
with upcoming BPCS and JDE migrations. Tom

-----Original Appointment-----
From: Angela Tokarski
Sent: Friday, March 22, 2013 9:53 AM
To: Angela Tokarski; Jo Taylor; Tom Reilly; Al Washco; Amit Joshi; William
O'Shea
Subject: AAR Review - JDE Performance Issues
When: Wednesday, April 10, 2013 10:00 AM-11:00 AM (GMT-05:00) Eastern
Time (US & Canada).
Where: Live Meeting



When: Wednesday, April 10, 2013 10:00 AM-11:00 AM (UTC-05:00)
Eastern Time (US & Canada).
Where: Live Meeting

Note: The GMT offset above does not reflect daylight saving time
adjustments.

*~*~*~*~*~*~*~*~*~*

Rescheduling due to unavailability of key members of the swat team.



All,

I agreed to create an After Action Review as an outcome from the Swat team
established to remediate performance issues encountered post implementation
of the JDE/E1 project.

The purpose of this meeting is to discuss and document lessons learned.

Angela



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Angela Tokarski has invited you to attend an online meeting using Microsoft® Office
Live Meeting service.




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